                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLIN
                              CHARLOTTE DIVISION
                           CIVIL ACTION NO.5:07CR14-V


UNITED STATES OF AMERICA,                              )
                                                       )
                                                       )
           v.                                          )              ORDER
                                                       )
FRANCISCO NUNEZ,                                       )
                                                       )
                         Defendant.                    )
__________________________________________________ )



       THIS MATTER is before the Court on the “Motion for Leave to Appear Pro Hac Vice”

(document #25) of defense counsel R. Patrick Fagerberg. For the reasons set forth therein, the

Motion will be GRANTED.

       The Clerk is directed to send copies of this Order to counsel for the parties, including but not

limited to moving counsel.

       SO ORDERED.

                                                       Signed: May 15, 2007




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